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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )
                                                   )      8:08CR87
       vs.                                         )
                                                   )      PRELIMINARY ORDER
CORLEONE MONSHAE McCURRY,                          )      OF FORFEITURE
CHRISTIAN NERO COPELAND,                           )
                                                   )
                     Defendants.                   )

       This matter is before the Court on the United States' Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 55). The Court reviews the record in this case

and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed

to plead guilty to Counts II, III, V and VI of said Indictment. Count II charges the

Defendants with one count of conspiracy to possess with intent to distribute cocaine base,

in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1). Count III charges the Defendants with

using and carrying a firearm during and in relation to, or possessing a firearm in

furtherance of, the drug trafficking crime charged in Count II, in violation of 18 U.S.C. §

924(c). Count V of said Indictment seeks the forfeiture, pursuant to 21 U.S.C. § 853, of

$60.00, $122.00, $306.00, $144.00 and $30.00 on the basis they were used or were

intended to be used to facilitate said controlled substance violation and/or were derived

from proceeds obtained directly or indirectly as a result of the commission of the crime

charged in Count II. Count VI of said Indictment seeks the forfeiture, pursuant to 18 U.S.C.

§ 924(d) and 28 U.S.C. § 2461(c), of a 9mm Sturm Ruger semi-automatic pistol on the
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basis it was a firearm involved or used in the knowing commission of the offense charged

in Count III.

       2. By virtue of said pleas of guilty, the Defendants forfeit their interest in the subject

properties, and the United States should be entitled to possession of said properties,

pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

       IT IS ORDERED:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing

No. 55) is hereby sustained.

       B. Based upon Counts V and VI of the Indictment and the Defendants’ pleas of

guilty, the United States is hereby authorized to seize the $60.00, $122.00, $306.00,

$144.00, $30.00 and the 9mm Sturm Ruger semi-automatic pistol.

       C. The Defendant's interest in said properties is hereby forfeited to the United

States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

       D. The aforementioned forfeited properties are to be held by the United States in

its secure custody and control.

       E. Pursuant to 21 U.S.C. § 853(n)(1), the United States of America forthwith shall

publish at least once for three successive weeks in a newspaper of general circulation, in

the county where the subject properties are situated, notice of this Order, Notice of

Publication evidencing the United States’ intent to dispose of the properties in such manner

as the Attorney General may direct, and notice that any person, other than the Defendant,

having or claiming a legal interest in any of the subject forfeited properties must file a



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Petition with the court within thirty days of the final publication of notice or of receipt of

actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

properties, shall be signed by the Petitioner under penalty of perjury, and shall set forth the

nature and extent of the Petitioner's right, title or interest in the subject properties and any

additional facts supporting the Petitioner's claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the properties subject to this

Order as a substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       DATED this 25th day of June, 2008.


                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge




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